Case 2:05-cr-20086-SH|\/| Document 25 Filed 08/03/05 Page 10f2 PagetD~Z»?»-»-»-»

IN TI'IE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'N'ESSEE

F"-ED BY ....-.» n.c.

wEsTERN DIvIsIoN 05 AUG '3 PH 5‘ 21

 

lHLM§M.

U'NITED STATES OF AMERICA,
Plaintiff,

CR. NO. 05-20086-Ol-Ma

'V'S-

JUAN L. CHAVEZ,

\._/\-._r\-._r-._/\._/\._/-._¢-._/-._r

Defendant.

 

ORDER ON CH.ANGE OF PLEA

 

This cause came on to be heard on August l, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Juan L. Chavez, appearing in person and with
retained counsel, Mr. Larry Fitzgerald.

With leave of the Court, the defendant entered a ;dea of
guilty to Count 1 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Thursday, Nbvember 3,
2005 at 9:00 a.m.

The defendant is remanded to the custody of the United States
Marshal.

SA

ENTERED this the day of August, 2005.

JAMM/L___../

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DIS'I‘RICT JUDGE

 

This docl.ment entered on the docket sheet ln co_mp\!ance
with R.l|e 55 and,for 3211)1 FHCrP on `

GOULD
C|.ERK US! C’;STT?TCT CGUHT
W!D Ct“" ~\,~'EFH!S

 

UNITED §TATE I§TRICT COURT- WESTERN DI§TRICT OF TENNE§§EE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20086 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Larry E. Fitzgerald
FITZGERALD & HARRIS
22 N. Second Street

Ste. 410

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

